Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page1of10 PagelD 1218

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION DEPUTY cL ems

TERRA PARTNERS, TERRA XXI, LTD.,
ROBERT WAYNE VEIGEL, ELLA MARIE
WILLIAMS VEIGEL, VEIGEL FARMS,
INC., VEIGEL CATTLE COMPANY, and
VEIGEL FARM PARTNERS, CIVIL ACTION CAUSE NUMBER
PLAINTIFFS, 2:15-CV-236-J
vs.

AG ACCEPTANCE CORPORATION,

DEFENDANT.

G7 UG? COD 67 400 000 007 FO7 CO 6G 400 800

MEMORANDUM OPINION AND ORDER GRANTING MOTION TO DISMISS
Before the Court is Defendant Ag Acceptance Corporation’s Rule 12(b)(6) motion, filed
October 16, 2015, to dismiss all of the Plaintiffs’ claims for failure to state a claim upon which relief
can be granted, the Plaintiffs’ response in partial opposition, and the Defendant’s reply. For the
following reasons, Defendant’s motion for dismissal is granted in part because Plaintiffs’ claims
have failed to state claims under Texas law upon which relief can be granted.
Dismissal Standards

The federal rules require that a pleading need only furnish a short and plain statement of the
claim showing that the pleader is entitled to relief. Fed. R. Civ. Pro. 8(a). Rule 12(b)(6) motions
function to test the formal sufficiency of a complaint against the liberal pleading requirements of
Rule 8. In analyzing a motion to dismiss under Federal Rule of Civil Procedure 12, the Court
accepts all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.
Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464, 467 (Sth Cir. 2004). To
survive, “the plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.’”

Inre Katrina Canal Breaches Litig., 495 F.3d 191, 205 (Sth Cir. 2007)(quoting Bell Atlantic Corp.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page 2of10 PagelD 1219

v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1974, 167 L.Ed.2d 929 (2007)). “[A] plaintiff's
obligation to provide the grounds of his entitlement to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly,
127 S.Ct. at 1964-65 (citations, quotation marks, and brackets omitted). “Factual allegations must
be enough to raise a right to relief above the speculative level, on the assumption that all the
allegations in the complaint are true (even if doubtful in fact).” Katrina Canal, 495 F.3d at 205
(quoting Twombly, 127 S.Ct. at 1965).

Although a court accepts all well-pleaded facts as true, “the tenet that a court must accept as
true all of the allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft
v. Iqbal, 556 U.S, 662, 129 8.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009). “Threadbare recitals of the
elements of a cause of action, supported by mere conclusory statements do not suffice.” Jd.
“[W here the well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct, the complaint has alleged—but it has not ‘show|n]’—‘that the pleader is entitled to
relief.’ Id. at 1950 (quoting Fed. R. Civ. Pro. 8(a)(2)).

Background Facts

As the facts supporting their causes of action, Plaintiffs allege the following. In 1994, Terra
XXI, Ltd., Robert Wayne Veigel, Ella Marie Williams Veigel, Veigel Farms, Inc., Veigel Cattle
Company, and Veigel Farm Partners executed and delivered to Farm Credit Bank of Texas (FCBT)
two promissory notes in the original principal amounts of $1,962,100.00 and $1,037,900.00. Both
notes came to be held by Rabo Agrifinance, Inc. (Rabo). The notes were secured by liens upon land
in Deaf Smith County, Texas, and Quay and Guadalupe Counties, New Mexico. Rabo obtained
judgement on the notes in federal court in 2006. Rabo domesticated the federal judgment in New
Mexico in 2007. Rabo as plaintiff filed a foreclosure case in Quay County District Court seeking
to foreclose mortgages on New Mexico property to satisfy the federal judgment. Rabo held a
foreclosure sale on May 18, 2015 on the New Mexico property, and was the successful bidder on that

sale. Confirmation of the sale was appealed by one or more of the Plaintiffs in this case.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page 3of10 PagelD 1220

Some of the Plaintiffs to this suit executed and delivered a series of promissory notes to
AgServices of America, Inc. between 1997 and 1999, AgServices assigned those notes to Ag
Acceptance Corporation. To secure those notes and future debts, in 1998 Plaintiff Terra XXI
executed a third lien deed of trust in favor of AgServices on the Deaf Smith County property. Terra
XXI also executed a third lien real estate mortgage in favor of AgServices on the New Mexico
properties. Plaintiffs defaulted on the notes in 2003. As a result of that default, Ag Acceptance
purchased the Texas property at a non-judicial foreclosure sale pursuant to its second lien position,
subject to First Ag Credit’s senior lien. Ag Acceptance is a wholly owned subsidiary of Ag Services
and its successor, Rabo Agrifinance.

Plaintiffs allege that in 2012, Ag Acceptance and Rabo sold the Texas property to Champion
Feeders, LLC for at least $6,154,660.00. Plaintiffs allege that amount was sufficient to satisfy the
federal judgment on both their Texas and New Mexico properties. They complain that neither Ag
Acceptance, AgServices nor Rabo’s first lien mortgage or other related judgment liens on the New
Mexico properties have been released. They allege that in 2006 the deputy general counsel for Ag
Acceptance and Rabo represented to the U.S. Department of Agriculture that it was Ag Acceptance
and Rabo’s intent to sell the Texas property and use to proceeds to satisfy Plaintiffs’ “obligations”
to Ag Acceptance and Rabo. They complain that even though the sales proceeds of the Texas
property was allegedly sufficient to satisfy the federal judgment, Ag Acceptance and Rabo did not
release the liens on the New Mexico property but instead brought a foreclosure action in New
Mexico state court on the New Mexico property.

Plaintiffs brought this lawsuit to obtain a declaratory judgment that under New Mexico law
the liens on the New Mexico property were and are fully satisfied by the proceeds of the 2012 sale
of the Texas property to Champion Feeders, LLC. This suit was removed to a New Mexico federal
district court by the Defendant, then transferred by that court to this court presumably because of the
uncertain implications and effects of the Fifth Circuit’s sanctions order and because of this suit’s

legal effects, if any, upon this Court’s earlier affirmed judgments dealing with the Texas property.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page4of10 PagelD 1221

Discussion and Analysis
Plaintiffs have pled four claims in their amended complaint, numbered Counts I through IV.
Plaintiffs in their response to Defendant’s motion to dismiss have agreed to dismissal of their claim
for imposition of a constructive trust (Count III of their first amended complaint). Pursuant to that
agreement, that claim is hereby dismissed with prejudice. The three remaining claims are:

Count I, a claim for an accounting by Ag Acceptance Corp. concerning the transaction with
Champion and the application of that transaction’s sales proceeds, as well as an accounting of funds
held in a Texas court registry as additional collateral, which Plaintiffs allege should have been paid
to certain Plaintiffs as the debt owed to Ag Acceptance and Rabo should have been previously
satisfied by the Champion sale;

Count I, a claim of unjust enrichment based on the application of the “primary fund
doctrine,” alleging that retention by Ag Acceptance of the consideration paid by Champion, as well
as other funds, without application of those funds to the obligation secured by the liens upon
Plaintiffs’ properties, coupled with Ag Acceptance Corp.'s “nominal bid” at its non-judicial
foreclosure sale, results in Ag Acceptance being unjustly enriched at the expense of Plaintiffs; and

Count IV, a request for a declaratory judgment, alleging that an actual controversy exists as
to the validity of Ag Acceptance’s mortgage and any judgment liens on the New Mexico properties,
and that this Court has jurisdiction to determine the rights and status of the Ag Acceptance
promissory notes and their relation to the mortgages on those properties.

Defendant argues that Plaintiffs are demand that Ag Acceptance hand over allegedly excess
proceeds from the sale of the Deaf Smith County property, property that it had owned outright for
more than a decade. Defendant asserts that the Veigels’ current claims fail on a legal basis, therefore
they should all be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6). Other than as to
Count IT], Plaintiffs do not agree to dismissal of their claims. Plaintiffs and the Defendant both argue
Texas and New Mexico law as grounds for dismissal, and why this case should not be dismissed

pursuant to Rule 12(b)(6).
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page5of10 PagelD 1222

Count I; the Claim for an Accounting

As to Count I, the accounting claim, Defendant states the Veigels do not refer in their
amended complaint to any statute or other legal authority that gives them the right to demand such
an accounting, and none exists. At the time of the 2012 sale Plaintiffs did not owe Ag Acceptance
any money for any of the debts they describe in their amended complaint and, in the absence of either
a debtor-creditor relationship or another valid legal basis to demand an accounting, the cause of
action fails as a matter of law.

Plaintiffs respond by citing Texas cases stating that an equitable accounting is an equitable
remedy proper under Texas law when the facts and accounts presented are so complex that adequate
relief may not be obtained at law. As they did in New Mexico state court, Plaintiffs argue the
applicability of the “primary fund doctrine” pursuant to which, they argue, “the Texas property
became the primary fund for satisfaction of the superior debts encumbering the property purchased
by Defendant.”

Defendant replies that none of the cited cases actually allowed an accounting as an
independent cause of action on this ground. Instead, in each of the cited cases, an accounting was
allowed as a remedy when a party alleged another viable cause of action, not allowed at all, or
allowed based ona fiduciary duty between the parties, which does not exist here. There is no dispute
that no fiduciary duty exists between these parties.

“To be entitled to an accounting, a plaintiff usually must have a contractual or fiduciary
relationship with the party from which the plaintiff seeks the accounting.” 7. F.W. Megmt., Inc. vs.
Westwood Shores Prop. Owners Ass'n, 798.W.3d 712, 717 (Tex. App.— Houston [14th Dist.] 2002,
pet. denied) (citing Hunt Oil Co. v. Moore, 656 S.W.2d 634, 642 (Tex.App.-Tyler 1983, writ ref'd
n.r.e.)). No such relationship exists here, therefore an action for such an accounting fails to state a
claim upon which relief can be granted under Texas law. Further, the amended complaint does not
demonstrate that the facts here are so complex that ordinary discovery procedures are inadequate to

obtain the information needed. See Emeribe v. Wells Fargo Bank, N.A., No. CIV. A. H-12-2545,
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page6of10 PagelD 1223

2013 WL 140617, at *4 (S.D. Tex. Jan. 10, 2013) (refusing to allow accounting claim after
foreclosure because accounts were not complex). A failure to be able to state a claim does not make
facts complex, nor does it create a basis to require an accounting under Texas law.

Count I: the Claim of Unjust Enrichment

Defendant states that unjust enrichment is aremedy, not an independent cause of action under
Texas law, citing Hancock v. Chicago Title Ins. Co., 635 F. Supp. 2d 539, 560-61 (N.D. Tex.
2009)(dismissing cause of action for unjust enrichment); Fisher v. Blue Cross & Blue Shield of
Texas, Inc., No. 3:10-CV-2652-L, 2015 WL 5603711, at *12 (N.D. Tex. Sept. 23, 2015)(unjust
enrichment is not an independent cause of action); Roach v. Berland, No. 3:13-CV-4640-D, 2015
WL 5097987, at *3 (N.D. Tex. Aug. 31, 2015) (same); Chapman v. Commonwealth Land Title Ins.
Co., 814 F. Supp. 2d 716, 725 (N.D. Tex. 2011) (same). Because there is no independent cause of
action for unjust enrichment, Defendant states the claim must be dismissed.

Plaintiff respond that “[a]lthough unjust enrichment may not be an independent claim under
Texas law, the principles of unjust enrichment still exist.” Plaintiffs state that in “this case, the facts
involved and the relief requested all indicate an equitable claim, regardless of whether it is labeled
a claim for unjust enrichment or money had and received.” Plaintiffs point out that they have plead
“several facts showing that Ag Acceptance received a substantial sum of money from the sale of
property in which they only paid $20,000 due to the existing and superior liens thereon.” They argue
that “those facts show that the money had and received by Defendant should have been applied to
existing liens on New Mexico property owned by Plaintiffs and was not — thus unjustly enriching
Ag Acceptance at the expense of the Plaintiffs.”

A cause of action for money had and received — which is not the claim as pled by the
Plaintiffs — is an equitable claim based upon an implied contract “for debt not evidenced by a
writing.” Amoco Prod. Co, v. Smith, 946 S.W.2d 162, 164 (Tex. App.—El Paso 1997, no writ).
Texas courts do not permit recovery on such an equitable theory where an express contract governs

the subject matter of the dispute. Fortune Prod. Co. v. Conoco, Inc., 52 $.W.3d 671, 684 (Tex.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page 7of10 PagelD 1224

2000); McAfee, Inc. v. Agilysys, Inc., 316 S.W.3d 820, 828 (Tex. App.—Dallas 2010, no pet.)
(citations omitted) (“Unless there is evidence of fraud, bad faith, or illegality, [causes of action for
unjust enrichment, money had and received, and promissory estoppel] are not applicable when an
express contract governs the subject matter of the dispute.”); Burlington N. R. Co. v. Southwest Elec.
Power Co., 925 8.W.2d 92, 97 (Tex. App.—Texarkana 1996) (“The doctrine does not operate to
rescue a party from the consequences of a bad bargain, and the enrichment of one party at the
expense of the other is not unjust where it is permissible under the terms of an express contract.”),
aff'd sub nom. Sw. Elec. Power Co. v. Burlington N. RR. Co., 966 S.W.2d 467 (Tex. 1998). It is
not disputed that the manner of applying proceeds from the sale of the Deaf Smith County properties
may be resolved, at least in part, by reference to the various written loan contracts at issue.

In addition to that reason for dismissal of this claim, the undisputed facts are that the Texas
lands once owned by the Plaintiffs were foreclosed upon in 2003, and finally sold in 2012 to
Champion Feeders, LLC. Plaintiffs have not adequately explained why they are legally or equitably
entitled now, a decade after that foreclosure, to credit for some of the 2012 sales proceeds.

Before this case was removed, Plaintiffs argued New Mexico law as grounds for such a
credit. In their response to the motion to dismiss, after the amended complaint was filed, they argue
only Texas law. Even ifit is true that the 2012 sales proceeds were more than enough to fully satisfy
all of their defaulted debts to all of their various creditors, Plaintiffs cite no Texas authority holding
they have a valid claim upon which legal or equitable relief can now be granted to any portion of
those sales proceeds. In essence, Plaintiffs are arguing that regardless of how long new owners hold
lands that Plaintiffs once owned, when sold a decade or a century later, they have an equitable right
to a portion of the sales proceeds to pay on their defaulted debts — after default and the foreclosure
sale, whenever a subsequent sale may be made. No legal authority for that alleged nght has been
cited, and the Court has found no such Texas authority under the facts of this case. For these
reasons, Plaintiffs have failed to state a claim under Texas law upon which relief can be granted in

this Court.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page 8of10 PagelD 1225

Claim IV: the Declaratory Judgment Claim

The Veigels’ final cause of action for declaratory relief seeks a ruling that judgment liens on
property in New Mexico are improper and that “continuing liens on the New Mexico property are
therefore improper and should be released” under New Mexico statutes and case law. See amended
complaint, at p.10, and Plaintiffs’ New Mexico state court “motion for relief of judgment”
(document number 39-2 at p.499-505). Defendant argues that the Court should decline to consider
this claim because the lien issues have already been addressed in the long-running New Mexico state
court cases, and rulings there make this issue moot. Pursuant to an apparently now-final New
Mexico state court order, the New Mexico property was foreclosed by Rabo Agrifinance, thereby
extinguishing all inferior liens. As a result, Defendant states that all disputes about other liens on
the property are now finally moot.

In response, the Plaintiffs argue that the state appellate court has not ruled in a final manner,
therefore these issues are not finally moot. Plaintiffs state that the New Mexico state court, in which
this matter was originally filed, does have jurisdiction to determine the nights and status of the Ag
Acceptance notes with respect to the encumbrances on the New Mexico property. Plaintiffs point
out, however, that Ag Acceptance is not a party to the New Mexico foreclosure proceedings, and is
thus “an omitted junior lien holder.” As “an omitted junior lien holder,” they state that “the
mortgagee (Rabo Agrifinance, Inc.) in the foreclosure may re-foreclosure on the junior lien (Ag
Acceptance's interest), in the trial court's discretion, or” under New Mexico law Defendant Ag
Acceptance “may ultimately disclaim any interest in that property.” But, they state, “even the entry
of an order approving the foreclosure sale in the New Mexico case” — an event which has now
apparently happened — would not render the declaratory relief request moot, given that Ag
Acceptance Is not a party to that New Mexico proceeding.

Plaintiffs argue:

there “is no pending request in state court to invalidate the liens held on the New

Mexico property. The instant petition was the request for such relief, and it has been
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page9of10 PagelD 1226

removed and is currently before this Court. Thus, there is no pending proceeding to

enjoin, nor would the effect of granting the declaratory relief act as an injunction on

any pending state case.”

In reply, the Defendant states that the New Mexico appellate court has now finally ruled in a final
manner, so these issues are now moot, finally. This Court has not been informed if an appeal has
been taken from the intermediate state appellate court’s decision.

Given the years of litigation in New Mexico state trial and appellate courts, the apparently
final appellate resolution there regarding Plaintiffs’ lien validity, accounting and other claims, and
the now apparently-final foreclosure upon and sale of the New Mexico properties, this Court declines
to hear further claims about these New Mexico properties. It would not serve the purposes of
judicial economy to hear this lawsuit here. It would be inequitable to allow the declaratory plaintiffs
to be hauled into this Texas federal court by the change of forum from the New Mexico state courts,
instead of a court better suited to decide issues of New Mexico real property liens and laws. The
matters in controversy may be, and may now have been, fully litigated in the pending state actions
in New Mexico, or not. However, no party has cited any benefit, either to the parties or the federal
courts, in allowing either party to engage in forum shopping in this suit, especially when this Court’s
earlier judgments did not rule upon any of these contested issues of New Mexico law.

There is no good reason presented by any party to this suit why this Court is being called
upon to sit as an super-state appellate court and to construe the various New Mexico state judicial
decrees, substantive state laws, New Mexico case law, and state procedural rules involving these
parties, the New Mexico properties, and their eight plus years of litigation relating hereto. See
Sherwin-Williams Co. vs. Holmes County, 343 F.3d 383, 388 (5th Cir. 2003). This Court declines
to do so.

Issues related to invalidating the liens held on the New Mexico property pursuant to New
Mexico law, and the possible mootness (or not) of the Plaintiffs’ claims in this lawsuit for such relief

because of related state appellate court decisions, are not based upon this Court’s earlier judgments.
Case 2:15-cv-00236-J Document 79 Filed 09/16/16 Page10o0f10 PagelD 1227

Plaintiffs expressly concede that they are not attacking this Court’s earlier affirmed judgments, and
those judgments are now final. Whatever claims Plaintiffs may be asserting in this suit based upon
New Mexico law should not be decided by this Court. This Court rules only that Plaintiffs have not
stated any claim upon which relief can be granted under Texas law, and that those claims can be and
should be dismissed with prejudice.
Conclusions

For the above-stated reasons, all of the Plaintiffs’ Texas state-law based claims and causes
of action are hereby dismissed for failure to state a claim upon which relief can be granted.

A final judgment will be entered in accordance with this memorandum opinion and order.

The balance of the claims asserted herein pursuant to New Mexico law, and specifically those
pled in Count IV of the amended complaint, are hereby transferred to the federal court in New
Mexico to which this case was removed from state court, for that court’s consideration. This Court
offers no opinion of the substance of any claim or cause of action pled under New Mexico law.

Itis SO ORDERED.

Signed this the__//</_day of September, 2016.

 

f Le ,
- oF Z ty tL MlLtl SP A lit Ei
MARY LOU R SINSON ar aie

UNITED STATES DISTRICT JUDGE

10
